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                  EXHIBIT B
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ISSUE DATE: May 26, 2009




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                                     Certifying Officer




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                                                                         JOINT TRIAL EXHIBIT NO. 1041
                                                                                  United States District Court
                                                                                 Northern District of California
                                                                                 No. 11-CV-01846-LHK (PSG)
                                                                                 Apple Inc. v. Samsung Elecs.

                                                                          Date Admitted:__________ By:_________


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(12) United States Design Patent (10) Patent No.:                                                                      US D593,087 S
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FIG. 11 is a front view thereof;                                 FIG. 34 is a rear perspective view of the electronic device in
FIG. 12 is a rear view thereof;
                                                                 FIG. 33;
                                                                 FIG. 35 is a front view thereof;
FIG. 13 is a top view thereof;
                                                                 FIG. 36 is a rear view thereof;
FIG. 14 is bottom view thereof;
                                                                 FIG. 37 is a top view thereof;
FIG. 15 is a left side view thereof;
                                                                 FIG. 38 is bottom view thereof;
FIG. 16 is a right side view thereof,
                                                                 FIG. 39 is a left side view thereof;
FIG. 17 is a front perspective view ofanother embodiment of
an electronic device in accordancewith the present invention;    FIG. 40 is a right side view thereof;
                                                                 FIG. 41 is a front perspective view ofanotherembodiment of
FIG. 18 is a rear perspective view of the electronic device in
                                                                 an electronic device inaccordancewith the present invention;
FIG. 17;
                                                                 FIG. 42 is a rear perspective view of the electronic device in
FIG. 19 is a front view thereof;                                 FIG. 41;
FIG. 20 is a rear view thereof;                                  FIG. 43 is a front view thereof;
FIG. 21 is a top view thereof;                                   FIG. 44 is a rear view thereof;
FIG. 22 is bottom view thereof;                                  FIG. 45 is a top view thereof;
FIG. 23 is a left side view thereof;                             FIG. 46 is bottom view thereof;
FIG. 24 is a right side view thereof;                            FIG. 47 is a left side view thereof; and,
FIG. 25 is a front perspective view ofanother embodiment of      FIG. 48 is a right side view thereof.
an electronic device in accordancewiththe present invention;     The broken lines showing the remainder of the electronic
FIG. 26 is a rear perspective view of the electronic device in   device are directed to environment. The boken lines, within
FIG. 25;                                                         the claimed design, in embodiments 1, 2, and 4 that depict an
FIG. 27 is a front view thereof;                                 elongatedoval shape and the broken lines, within the claimed
                                                                 design, in embodiments 2, 3, and 6 that depict a circle shape
FIG. 28 is a rear view thereof;                                  are superimposed on a continuous surface and are for illus-
FIG. 29 is a top view thereof;                                   trative purposes only. The broken lines, within the claimed
FIG. 30 is bottom view thereof;                                  design, in embodiments 1, 3, and 5 that depict a large rectan-
                                                                 gular shape, indicate a non claimed shape below the continu-
FIG. 31 is a left side view thereof;                             ous front surface and are for illustrative purposes only. None
FIG. 32 is a right side view thereof;                            ofthe broken lines form a part of the claimed design.
FIG. 33 is a front perspective view ofanother embodiment of
an electronic device in accordancewiththe present invention;                     1 Claim, 12 Drawing Sheets




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                                      FIG. 1




                                      FIG. 2




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                       FIG. 3                                           FIG. 4
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          FIG.7                     FIG.8



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                                    FIG.9




                                     FIG. 10




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                 FIG. 11                                           FIG. 12
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      FIG. 15                   FIG. 16



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                                    FIG. 17




                                   FIG. 18




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               FIG. 19                                           FIG. 20
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                                                                FIG. 21




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     FIG. 23                  FIG. 24



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                                     FIG. 25




                                   FIG. 26




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                 FIG. 27                                          FIG. 28

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      FIG. 31                 FIG. 32



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                                    FIG. 33




                                    FIG. 34




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                  FIG. 35                                         FIG. 36
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      FIG. 39                  FIG. 40



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                                     FIG. 41




                                     FIG. 42




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                     FIG. 43                                         FIG. 44
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     FIG. 47                      FIG. 48



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